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iN THE UNITED sTA'rES DISTRICT COURT `F"`ED BY ~% D'C'
FOR THE WESTERN DISTRICT oF TENNESSEE , ‘ _
WESTERN DrvrsroN 95 JUN 31 PH 3» |J

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UNITED STATES OF AMERICA * W-D" CF '='N, MEMPH|S
*
vs. : Docket No. 05-CR-20204
CHARLES LOVE, *
§§

Defendant.

 

ORDER
Upon Defendant’s Motion and for good cause shown, it is ORDERED,
ADJUDGED, and DECREED that defendant, Charles Love, is not required to appear,
June 22, 2005 at the report date; it is further ORDERED, ADJUDGED and DECREED
that his attorney shall participate via telephone conference to begin at 8:45 a.m., Central

Standard Tirne, June 22, 2005.

 

. D NIEL BREEN \
Unit d States District Court Judge

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
case 2:05-CR-20204 Was distributed by faX, mail, or direct printing on
June 2l , 2005 to the parties listed.

 

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Honorable J. Breen
US DISTRICT COURT

